                      Case 17-20409       Doc 39    Filed 01/12/18       Page 1 of 2



                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND



IN RE:        TRACY N LOVE                                  *        Case No: 17-20409
                                                            *
                               Debtor
                                                             *       Chapter 13

*    *            *       *     *       *       *       *    *       *          *       *   *

NATIONSTAR MORTGAGE LLC                                      *

                               Movant                        *
Vs
                                                             *

TRACY N LOVE                                                 *

                               Respondent                    *

*    *        *       *    *    *     *     *       *   *    *       *      *       *   *   *   *

                          ANSWER TO MOTION FOR RELIEF FROM STAY


         The Respondent(s), Tracy N. Love, by Edward C. Christman and

Christman & Fascetta, LLC, in response to the Motion Seeking

Relief from Automatic Stay, state:

         1.       Debtor(s) admit the allegations contained in Paragraphs

1, 2, 3, 4, 5, 6 and 10 of said Motion.

         2.       Debtor(s) are without sufficient knowledge or information

to admit or deny the allegations contained in Paragraphs 8 of said

Motion.

         3.       Debtor(s) deny the allegations in Paragraphs 7, 9 and 11

of said Motion.
            Case 17-20409   Doc 39   Filed 01/12/18   Page 2 of 2




     WHEREFORE, the Respondent respectfully requests that said

Motion for Relief from Automatic Stay be dismissed.




                                        /s/ Edward C. Christman _
                                        Edward C. Christman
                                        Christman & Fascetta LLC
                                        810 Gleneagles Court
                                        Suite 301
                                        Towson, MD 21286
                                        (410) 494-8388




                       CERTIFICATE OF SERVICE



          I hereby certify that on this 12th day of January, 2018,
a copy of the foregoing Answer was mailed by first class mail,
postage prepaid to the following:

Nancy Spencer Grigsby, Trustee
185 Admiral Cochrane Drive, Ste. 240
Annapolis, Maryland 21401

Law Office of Shapiro & Brown LLP
Attn: Renee Dyson, Esq.
10021 Balls Ford Road, Ste. 200
Manassas, Virginia 20109




                                       /s/ Edward C. Christman
                                       Edward C. Christman
